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                                                                                               10/20/2020


                                          THE CITY OF NEW YORK                                             Nicholas Green
                                                                                             Assistant Corporation Counsel
JAMES E. JOHNSON
Corporation Counsel
                                         LAW DEPARTMENT                                  Labor & Employment Law Division
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                                                                     October 19, 2020

        BY ECF
        Honorable Katharine H. Parker
        United States Magistrate Judge
        United States District Court
        Southern District of New York
        500 Pearl Street, Room 1320
        New York, New York 10007

                       Re: Brian Ford v. The New York City Board of Education, et al.
                           Docket No. 19 Civ. 6327 (JPC)(KHP)

        Dear Judge Parker:

                        I am an Assistant Corporation Counsel in the office of James E. Johnson,
        Corporation Counsel of the City of New York, counsel for Defendants in the above referenced
        action. Defendants write to seek an adjournment of the initial conference currently scheduled for
        October 22, 2020 to December 7, 2020, December 8, 2020 or a date more convenient for the
        Court. This is Defendants’ first request of an adjournment of the initial conference, and Plaintiff
        has consented to this request with the understanding that should Plaintiff require an extension in
        the future Defendants will extend the same courtesy. This request will not affect any other
        deadlines in this matter.

                       Defendants mailed consent to the service of the summons and complaint by the
        US Marshals Service as of October 1, 2020. Accordingly under the December 30, 2013 standing
        order of the Court Defendants time to respond to the Complaint will not expire until November
        30, 2020. Defendants believe that it will serve the interests of the parties and judicial economy
        to schedule the conference for a time following Defendants’ response, at which time the parties
        will be better prepared to address the needs of discovery and the initial conference could
        potentially be consolidated with Defendants’ anticipated request for a pre-motion conference.
        Accordingly, Defendants respectfully request that the initial conference in this matter be
        adjourned to December 7, 2020, December 8, 2020 or a date more convenient for the Court.

                       Thank you for your consideration of this request.

                                                                     Respectfully submitted,
                                                                     /s/ Nicholas Green
                                                                     Nicholas Green
                                                                     Assistant Corporation Counsel
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  cc:   Brian Ford (via regular mail and electronic mail)
        Plaintiff Pro Se
        19 West 110th Street, #45
        New York, New York 10027
        (646) 713-8285
        bpford1@gmail.com



The telephonic Initial Case Management Conference scheduled for Thursday, October
22, 2020 at 12:45 p.m. is hereby rescheduled to Tuesday, December 8, 2020 at 12:30 p.m.
Counsel for the parties are directed to call Judge Parker’s court conference line at the
scheduled time. Please dial (866) 434-5269, Access code: 4858267.
The Defendant is directed to email the Plaintiff a copy of this endorsement,
The Clerk of Court is requested to mail a copy of this endorsement to the Plaintiff.




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